                   Case 24-12480-JTD             Doc 409       Filed 12/11/24        Page 1 of 2




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE



    In re:                                                     Chapter 11

    FRANCHISE GROUP, INC., et al.,1                            Case No. 24-12480 (JTD)

                                Debtors.                       (Jointly Administered)

                                                               Ref. Docket No. 389


         ORDER AUTHORIZING THE DEBTORS TO SEAL CERTAIN EXHIBITS IN
                 CONNECTION WITH THE SECOND DAY HEARING

             Upon consideration of the motion (the “Seal Motion”)2 of the Debtors for entry of an order

(this “Order”) authorizing the Debtors to redact certain commercially sensitive information in the

Sealed Exhibits and to introduce the Sealed Exhibits into evidence at the Second Day Hearing with

proposed redactions; and it appearing that the relief requested in the Seal Motion is in the best


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      The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
      numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
      Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
      Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
      (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
      Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
      Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
      American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
      Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
      Home and Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight
      Franchisor, LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s
      Franchising and Licensing, LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco
      V, LLC (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123);
      Valor Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168),
      Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe
      Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470),
      Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC
      (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW
      Franchising, LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP
      Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise
      Group Newco SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation
      Court, Suite J, Delaware, Ohio 43015.
2
      Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Seal Motion.
               Case 24-12480-JTD          Doc 409      Filed 12/11/24      Page 2 of 2




interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having

found that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334(b) and 157, and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware dated as of February 29, 2012; and this Court having found that venue of these Chapter

11 Cases and the Seal Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and this Court having found that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b);

and this Court having found that notice of the Seal Motion has been given as set forth in the Seal

Motion and that such notice is adequate and no other or further notice need be given; and this

Court having determined that it may enter a final order consistent with Article III of the United

States Constitution; and this Court having found and determined that the relief sought in the Seal

Motion is in the best interests of the Debtors, their estates, their creditors, and all other parties in

interest; and that the legal and factual bases set forth in the Seal Motion establish just cause for the

relief granted herein; and after due deliberation and sufficient cause appearing therefor,

       IT IS HEREBY ORDERED THAT:

       1.      The Seal Motion is GRANTED as set forth herein.

       2.      The Debtors are authorized to introduce the Sealed Exhibits into evidence at the

Second Day Hearing with proposed redactions.

       3.      The Debtors shall provide copies of the unredacted version of the Sealed Exhibits,

to the extent not already provided, to this Court, the U.S. Trustee, proposed counsel for the

Committee, counsel to the DIP Lenders, counsel to the DIP Agent, counsel to the Ad Hoc Group

of First Lien Lenders, and counsel to the Freedom Lender Group, subject to Local Rule 9018-1(d)

and in accordance with the Stipulation.

        Dated: December 11th, 2024                         JOHN T. DORSEY
        Wilmington, Delaware                               UNITED STATES BANKRUPTCY JUDGE
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